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             EXHIBIT D
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Kwan, Adrian

From:                                          Pio Suh <suh@ipcom-munich.com>
Sent:                                          Wednesday, June 26, 2019 12:31 PM
To:                                            Kwan, Adrian
Cc:                                            Akerley, Stephen; Ducker, Philip; Igor Kurtes
Subject:                                       WG: Proposal
Attachments:                                   Docket 001 - Complaint and Exhibits.pdf

Importance:                                    High


FYI

Von: Kathryn Tsirigotis <ktsirigotis@lenovo.com>
Gesendet: Freitag, 15. März 2019 18:53
An: Pio Suh <suh@ipcom-munich.com>
Cc: Kathryn Tsirigotis <ktsirigotis@lenovo.com>
Betreff: Proposal
Priorität: Hoch

            WITHOUT PREJUDICE AND FOR SETTLEMENT PURPOSES ONLY
            Subject to FRE Rule 408

Pio,

As a follow-up to my email from yesterday providing Lenovo’s FRAND offer for a license to IPCom’s patent portfolio,
attached is a copy of a complaint that we have filed against IPCom in the Northern District of California. In the event that
we are unable to agree upon FRAND terms consistent with the ETSI IPR Policy, Lenovo has asked the court to determine
the FRAND licensing terms and rates for the parties. I want to reiterate, however, that Lenovo remains a willing licensee
and we hope to finalize an agreement with IPCom on FRAND terms in the near future. I look forward to hearing from
you.

Best regards,
Kathryn


Kathryn Tsirigotis                         919-257-5324
Director of Licensing
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